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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK

                                                 :
SARAH EDMONDSON, et al.,                         :
                                                 :
                       Plaintiffs,               :
                                                 :   CIVIL ACTION NO. 20-CV-485-EK-CLP
       v.                                        :
                                                 :
KEITH RANIERE, et al.                            :
                                                 :
                       Defendants.               :



                      JOINT MOTION FOR ENTRY OF STIPULATED
                       ESI PROTOCOL AND PROTECTIVE ORDER

       Plaintiffs, Sarah Edmondson et al. (“Plaintiffs”), and Defendants Keith Raniere, Clare

Bronfman, and Sara Bronfman (“Defendants”) (collectively, the “Parties”),1 by their undersigned

attorneys, respectfully request that this Court enter the Stipulated Protocol Concerning Discovery

of Electronically Stored Information (“ESI Protocol”), attached hereto as Exhibit A, and the

Stipulated Protective Order, pursuant to Federal Rule of Civil Procedure 26(c), attached hereto as

Exhibit B. In support of their motion, the Parties state the following:

       1.      The Parties require the entry of the ESI Protocol to govern the format in which

document productions are made and discovery-related issues are handled.

       2.      The Parties require the entry of the Protective Order to facilitate the exchange of

confidential information between the Parties.

       3.      Until the ESI Protocol and Protective Order are in place, the Parties cannot begin

producing documents.


1
 Pro se Defendant Danielle Roberts has declined to participate in the negotiations concerning the
ESI Protocol and Protective Order. Plaintiffs provided Ms. Roberts with notice of this joint
motion, but she has declined to state her position.
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       4.      Counsel for the Parties have stipulated to the ESI Protocol and Agreed

Confidentiality Order.

       5.      WHEREFORE, the Parties respectfully request that this Court enter the ESI

Protocol and Agreed Confidentiality Order.



 Respectfully Submitted,                         Dated: June 30, 2025

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